
In re United Healthcare of Louisiana, Inc.; — Plaintiffs; Applying for Rehearing of this Court’s Order dated November 2, 2011; Parish of E. Baton Rouge, 19th Judicial District Court Div. A, No. 603,910 C/W 603,911 C/W 603,915; to the Court of Appeal First Circuit, Nos. 2011 CW 1820, 2011 CW 1823; 2011 CW 1822; 2011 CW 1821.
Stay denied; rehearing denied. In the event plaintiffs are unable to complete the appeal proceedings within the delay set by the trial court, they may reurge their request for a stay from the court of appeal. See, e.g., Utah-Louisiana Inv. Co. v. International Dev. Inc., 262 So.2d 551 (La.App. 1 Cir.1972).
